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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   MICHAEL E. GONIDAKIS, et al.,                :
                                                :
                 Plaintiff,                     :     Case No. 2:22-cv-0773
                                                :
          v.                                    :     Chief Judge Algenon L. Marbley
                                                :     Judge Amul R. Thapar
   OHIO REDISTRICTING                           :     Judge Benjamin J. Beaton
   COMMISSION, et al.,                          :
                                                :     Magistrate Judge Elizabeth P. Deavers
                 Defendants.                    :

                                      COURTROOM MINUTES
                                         65.1 Conference

    U.S. District Chief Judge Algenon L.             Date: March 25, 2022 @ 8:45 a.m.
    Marbley, Sixth Circuit Judge Amul R.
    Thapar, and District Judge Benjamin J.
    Beaton (WDKY)


    Deputy Clerk:      Diane Stash                   Counsel for Plaintiffs: Donald Brey, Matthew
                                                                             Aumann, Ryan Spitzer,
                                                                             Trista Turley
    Court Reporter:    Shawna Evans                  Counsel for              Julie Pfeiffer, Michael
                                                     Defendants:              Walton, Jonathan
                                                                              Blanton
    Log In             n/a                           Log Out                  n/a

  Additional counsel in attendance:

  Percy Squire representing Intervenor Plaintiffs Kenneth L. Simon, Lewis Macklin, and Helen
  Youngblood

  David Fox and Derek Clinger representing Intervenor Plaintiffs Bria Bennett, Regina Adams,
  Kathleen Brinkman, Martha Clark, Susanne L. Dyke, Meryl Neiman, Holly Oyster, Constance
  Rubin, and Everett Totty.

  Christina Marshall representing Intervenor Plaintiff The Ohio Organizing Collaborative, Council
  on American-Islamic Relations, Ohio Environmental Council, Samuel Gresham, Jr., Ahmad
  Aboukar, Mikayla Lee, Prentiss Haney, Pierrette M. Talley, and Crystal Bryant.
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  Freda Levenson (by video) representing Intervenor Defendant League of Women Voters of Ohio
  and A. Philip Randolph Institute of Ohio.

  Benjamin Cooper and Jonathan Taylor (by video) representing Intervenor Defendants Vernon
  Sykes and Allison Russo.

  The parties appeared before the Court for a Local Rule 65.1 conference on Plaintiffs’ Motion for
  a Temporary Restraining Order (ECF No. 84).

  Counsel for all parties presented arguments and responded to questions from the Judges on the
  issue of Plaintiffs’ Motion for Temporary Restraining Order pursuant to Fed. R. Civ. P. 65(b) to
  enjoin the Ohio Secretary of State Frank LaRose, in his official capacity, and all persons acting on
  his behalf or in concert with him, from deviating from the status quo: implementing the Third Plan
  adopted by the Ohio Redistricting Commission.

  The Court holds in abeyance its ruling on the Motion for a Temporary Restraining Order. An
  Order to that effect will be issued.
